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-v- 2:020R20052-01-Ml

RODNE¥ T. DUNLAP
Randal| Salkyl Retained
Defense Attorney
266 South Front Street
Memphis, TN 38103

 

*A-M-E-N-D-E-D JUDGMENT lN A CRIM|NAL CASE
{For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1 of the indictment on October 18, 2002.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & section _Msr§_e offense M(§j
Concluded
18 U.S.C. 922(g) Felon in Possession of a Firearm 10/29/2001 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996.

Counts 2 and 3 are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 03/21/1973 January 24, 2003
Deft’s U.S. l\/larshal No.: 18222-076

Defendant's Nlailing Address:
4383 Daytona Street
l\/lemphis, TN 38113

 

/BYN
JO PH|PPS NICCALLA
U TED ST TES DlSTR|CT JUDGE

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Case No: 2:020R20052-O1-|V|| Defendent Name: Rodney T. DUNLAP Page 2 of4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *80 Months.

The defendant is remanded to the custody of the United States N|arsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. l\/|arshal

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Case No: 2:02CR20052-01-Nll Defendant Name: Rodney T. DUNLAP Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

VVhi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial districtwithout the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:02CR20052-01-N|| Defendant Name: Rodney T. DUNLAP Page 4 of4

11.

12.

13.

law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation ocher to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| lVlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1.

The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing forthe detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer_

*The defendant shall cooperate with DNA collection as directed bv the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with the

schedule of payments set forth in the Schedu|e of Payments. The defendant shall pay interest on any fine
or restitution of more than $2,500, unless the fine or restitution is paid in full before the fifteenth day after
the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedule of
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution

$100.00

The Specia| Assessment shall be due immediatelyl

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED s…ATEISTIC COUR - WTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:02-CR-20052 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

